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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

BARBARA LEVINE, A/N/F                         §
JOE BAILEY, DECEASED                          §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §    CIVIL ACTION NO. 4:16-cv-00883
                                              §
DIAMOND OFFSHORE                              §
DRILLING, INC.                                §
                                              §
       Defendant.                             §


                            AGREED ORDER OF DISMISSAL

       The Court has been informed that there are no further matters requiring the Court’s

attention and that the parties are jointly requesting dismissal of this civil action. The Court

hereby orders that the instant action be dismissed with prejudice. The parties shall bear their

own costs.

SIGNED this ___ day of ___________, 2016.



                                           ___________________________________
                                           UNITED STATES DISTRICT JUDGE




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AGREED AS TO FORM AND SUBSTANCE:


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DIAMOND OFFSHORE DRILLING, INC.




AGREED ORDER OF DISMISSAL                                                Page 2
